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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

DESHAUN STATEN,

        Plaintiff,
                                                    Case No. 20-cv-228-wmc
   v.

BRIAN GUSKE, SUSAN NOVAK,
OLSON, LUCAS WEBER, K. WENDT,
JULIA PERSIKE, KELSEY D. STANGE,
C. SCHELLINGER, KARLA SOUCEK,
LINDSEY WALKER, L. BUCHANAN,
TERRY and TERESA GAIER,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.




        /s/                                                   1/11/2021
        Peter Oppeneer, Clerk of Court                        Date
